     Case 2:10-cr-00287-GMN-VCF            Document 159         Filed 02/07/13       Page 1 of 2



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 5

 6
                  UNITED STATES DISTRICT COURT
 7
                       DISTRICT OF NEVADA
 8
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 9

10    UNITED STATES OF AMERICA,                           )   2:10-cr-287-GMN-VCF
                                                          )
11                           Plaintiff,                   )   [PROPOSED]
                                                                   ORDER ORDER
                                                          )
12    VS.                                                 )
                                                          )
13                                                        )
      LANCE KELLOW,                                       )
14                                                        )
                             Defendant.                   )
15                                                        )

16

17           At the request of Counsel for the Government and notice provided in open Court to the

18    defendant, IT IS HEREBY ORDERED THAT counsel for both parties may review the jury

19    selection surveys returned by potential jurors in this case in advance of the first day of trial.

20    DATEDIT    IS FURTHER
               this              ORDERED
                        day of February, 2013.that the parties shall review, sign and comply with the
      attached Juror Card Viewing Procedure.
21    attached Certificate of Compliance with Juror Card Procedure.

22            IT IS SO ORDERED this 7th day of February, 2013.
                                              UNITED STATES JUDGE
23

24
                                                        ________________________________
25                                                      Gloria M. Navarro
                                                        United States District Judge
26
   Case 2:10-cr-00287-GMN-VCF          Document 159             Filed 02/07/13           Page 2 of 2




 United States District Court
                                   DISTRICT OF NEVADA



                  CERTIFICATE OF
       COMPLIANCE WITH JUROR CARD PROCEDURE

I __________________________ of the firm of _________________________ certif y
that I will not use the information provided in any manner or purpose other than that of
trial preparation in this particular case. Furthermore, I certify that I will not contact,
directly or indirectly, any of the individuals, employers or any other person(s), including
but not limited to spouses, children, neighbors, etc., whose existence may be revealed
by the data provided in the Jury Information Form without further leave of Court.
Finally, I understand and agree that I shall be responsible for keeping and maintaining
all information confidential and that the following information shall not be abstracted
or copied from the card:

· juror's social security number
· juror's date of birth
· any addresses
· any phone numbers

I request that ____________________________________________ w ho are
employee(s) of the above named law firm, be allowed to abstract the juror information
and to be governed by the same restrictions noted above.

The undersigned hereby certify they understand and agree that any violation of this
certification shall result in a Contempt of Court proceeding requiring their attendance.



        (Date)                                        (Signature of attorney)




        (Date)                                         (Signature of employee)




        (Date)                                          (Signature of employee)




   PLEASE NOTE: You must call the Jury Office, 464-5600, Monday through
   Friday 9:00 am to 4:00 pm to make an appointment to view the juror cards.

                  For Official Use Only: Trial Date                               Pool
